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_________________________________________________________________________________

                                                                   SO ORDERED,



                                                                   Judge Jason D. Woodard
                                                                   United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
________________________________________________________________________________


                                                 UNITED STATES BANKRUPTCY COURT
                                                 NORTHERN DISTRICT OF MISSISSIPPI

  IN RE VICKEY PRYOR                                                       CASE NO. 16-11787 JDW

  DEBTOR                                                                   CHAPTER 13

                   ORDER CONFIRMING THE DEBTOR'S PLAN, AWARDING A
                  FEE TO THE DEBTOR'S ATTORNEY AND RELATED ORDERS

         Following the meeting of creditors held pursuant to 11 U.S.C. § 341 at which the debtor 1
 appeared in person, or whose appearance was waived by order of this Court, to be examined by
 creditors and other interested parties, notice and an opportunity for objection to confirmation of
 the plan was provided to all interested parties. Any and all objections to confirmation of the
 debtor's plan have been resolved by prior order of this Comt. The trustee having now
 recommended that the debtor's plan be confirmed pursuant to 11 U.S.C. § 1325, and the Court
 having considered this matter, does hereby find that:

         A. Written notice of the meeting of creditors held pursuant to 11 U.S.C. § 341 and of
 the hearing on the confirmation of the plan was given as required by Rule 2002 of the Federal
 Rules of Bankruptcy Procedure2;
         B.     The plan as presented for confirmation (hereinafter referred to as "the plan")
 complies with the provisions of Chapter 13 of Title 11 of the United States Code and the other
 applicable provisions of said Titlc 3;
         C. Any fee, charges, or other amount required under Chapter 123 of Title 28, or by the
 plan, to be paid before confirmation has been paid;
         D. The petition has been filed in good faith and not by any means forbidden by Jaw;
         E.    The value, as of effective date of the plan, of property to be distributed under the
 plan on account of each allowed unsecured claim is not less than the amount that would be paid
            ·-····-··-····-·········-·····---·
 ' The debtor is hereinafter referred to in the masculine singular, even though this may be a joint case or if the debtor
 is female.
 2
   All references to "Rule" or "Rules" shall be interpreted as referring to the Federal Rules of Bankruptcy Procedure
 unless the context indicates otherwise.
 3
   /\I! references herein to "Section" or "Sections" shall refer to those sections contained in Title 11 of the United
 States Code.
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 on such claim if the estate of the debtor were liquidated under Chapter 7 of Title 11 of the United
 States Code on such date;
         F. With respect to each allowed secured claim provided for by the plan, the holder of
 such claim either accepted, or was deemed to have accepted, the plan as required by Section
 I 325(a)(5);
         G.      The plan attached to this order has been proposed in good faith.
         H.      Debtor has paid all amounts that are required to be paid under a domestic support
 obligation and that first became payable after the date of the filing of the petition if the debtor is
 required by a judicial or administrative order, or by statute, to pay such domestic support
 obligation; and
         I.      Debtor has filed all applicable Federal, State, and local tax returns as required by
 Section I 308.
         J.     If the trustee or the holder of an allowed unsecured claim objected to the
 confirmation of the plan, then the court finds that the plan complies with Section I 325(b );

 IT IS ORDERED THAT:
         I. The debtor's plan is confirmed.
         2. The debtor, or his employer, shall make the payments to the trustee required by the
 plan as confinned or as hereafter modified. If the debtor does not cause such payments to be
 timely made, the trustee may order as contemplated by Section 542(b) or request the Court to
 order pursuant to Section 1325(c) any entity from whom the debtor receives income to pay all or
 any part of such income to the trustee.
         3.    The debtor shall, when practicable, obtain the approval of the trustee prior to
 incuning additional consumer debt. The failure to obtain such approval, if practicable, may
 cause the claim for such debt to be disallowable to the creditor rsection 1305(c)], and the debt to
 be non-dischargeable a~ to the debtor [Section l 328(d)].
         4. A11 property shall remain property of the estate and shall vest in the debtor only upon
 dismissal, discharge, or conversion. The debtor shall be responsible for the preservation and
 protection of all property of the estate not transferred to the trustee.
         5. The trustee shall:
                 a. Keep a detailed record of all receipts, including the
                 source or other identification of each receipt, and of all disbursements pursuant to
                 Section I302(b)(l); and
                  b. Deposit all funds received by the trustee under the plan with any entity which
                 provides insurance, guaranties, or deposits in the manner prescribed by Section
                 345.
         6. Pursuant to Section 1326, payments shall be in the following order tmless otherwise
 directed:
                 a. Any unpaid claim of the kind specified in Section 507(a)(2);
                 b. The percentage fee fixed for the trustee pursuant to Section 1302(a) or
                 Section 586(e)(l)(B), if applicable;
                 c. Any compensation due to a chapter 7 trustee pursuant to Section l 326(b)(3 );

                d. Creditors whose claims are timely filed and allowed in such amounts and
                order of preference as may be provided by the plan or as may be required to
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                provide adequate protection of the interest of any entity with an interest in the
                property of the estate.
         7. The trustee, the debtor and attorney for the debtor shall examine proofs of claim, or
 summaries thereof, and shall object to the allowance of improper claims as provided by Section
 704(a)(5) and any applicable local rule.
         8. The trustee shall at least once each year provide debtor and debtor's counsel a report
 showing the funds received and the disbursements made by him since the date of the last report,
 and shall upon completion of the plan file with the Court a final report and account containing or
 incorporating by reference a detailed statement ofreceipts and disbursements.
         9. Ninety days after the final distribution, the trustee shall stop payment of all checks
 that remain outstanding and unpaid and file with the Clerk of the Court a list of the names and
 addresses, so far as known, of the persons entitled to such payments and the amounts thereof.
 The unclaimed funds shall be paid into the Court and disposed of under Chapter 129 of Title 28
 [Section 347 and Rule 3001].

 ALLOWANCE OF ATTORNEY'S FEES
        The application by the attorney for the debtor for the allowance of reasonable
 compensation as authorized by Section 330 having been considered, the court finds that a
 reasonable fee for the services performed and undertaken by such attorney is $3,200.00, of
 which $0.00 was paid to such attorney prior to the filing of the petition initiating this proceeding.

        The balance of such fee ($3,200.00) shall be paid by the trustee from the monies received
 under the debtor's plan, provided, however, that such payments shall be deferred in time to
 payments, if any, which may be required to provide adequate protection of the interest of the
 holders of any secured claims.

                                                                    ###END OF ORDER###




 Attorney for the Debtor


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                                                              CHAPTER 13 PLAN -AMENDED
                                                           UNITED STATES BANKRUPTCY COURT
                                                           NORTHERN DISTRICT OF MISSISSIPPI
                                                                                                             CASE NO.         16-11787

Debtor Vickey Pryor                               SS# xxx-xx-6426                            Median Income    D   Above       Ii.] Below
Joint Debtor         ~~~~~~~~~~~~-
                                                  SS#                        ------~



Address 810 West Street Holly Springs, MS 38635-0000

THIS PLAN DOES NOT ALLOW CLAIMS. Creditors must file a proof of claim to be paid under any plan that may
be confirmed. The treatment of ALL secured I priority debts must be provided for in this plan.

PAYMENT AND LENGTH OF PLAN
The plan period shall be for a period of~ months, not to be less than 36 months for below median income debtor(s),
or less than 60 months for above median income debtor(s).

(A)         Debtor shall pay $ 207.50 . per weekly to the Chapter 13 Trustee. Unless otherwise ordered by the Court, an
            Order directing payment shall be issued to Debtor's employer at the following address:
                                 Brentwood Originals
                                 9759 Church rd
                                 Walls MS
                                 38680-0000

(B)        Joint Debtor shall pay $__ per (monthly I semi-monthly I weekly I bi-weekly ) to the Chapter 13 Trustee. Unless
           otherwise ordered by the Court, an Order directing payment shall be issued to Debtor's employer at the following
           address:




PRIORITY CREDITORS.
Filed claims that are not disallowed to be paid in full or as ordered by the Court as follows:
 Internal Revenue Service                       $ 4,700.30                 @ 78.34             /month (2014-2015)
_______________ $                                                          @                   /month
Mississippi Department Of Revenue for 2015 $ 392.00                        @ 9.56              /month

DOMESTIC SUPPORT OBLIGATION DUE TO:
                                                            -NONE-
 POST PETITION OBLIGATION: In the amount of$ per month beginning .
To be paid      direct,           through payroll deduction, or        through the plan.
                                                                  -NONE-
PRE-PETITION ARREARAGE: In the total amount of$ through shall be paid the amount of$ per month beginning
To be paid            Direct        through payroll deduction           through the plan.

HOME MORTGAGES. All claims secured by real property which are to be paid through the plan shall be scheduled
below. Absent an objection by a party in interest, the plan will be amended consistent with the proof of claim filed herein,
subject to the start date for the continuing monthly mortgage payment proposed herein.
 MTG PMTS TO: DOD Land Company                       BEGINNING 08/16             @$          575.00 li.]PLAN 0DIRECT
 MTG ARREARS TO: DOD Land Company                     THROUGH 07116               $ 7,85&.50       @$ 130.93           /MO*

MORTGAGE CLAIMS TO BE PAID IN FULL OVER PLAN TERM:
Creditor:         -NONE-              Approx. amt. due:                                                       Int. Rate:
Property Address:                     Are related taxes and/or insurance escrowed                              Yes               No

NON-MORTGAGE SECURED CLAIMS. Creditors that have filed claims that are not disallowed are to retain lien(s) under
11 U.S.C. 1325(a)(5)(B)(i)(I) until the payment of the debt determined as under non-bankruptcy law or discharge. Such
creditors shall be paid as secured claimants the sum set out below or pursuant to other order of the Court. The portion of


 Debtor's Initials         VP       Joint Debtor's Initials                                   CHAPTER 13 PLAN, PAGE 1 OF 2
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the claim not paid as secured shall be treated as a general unsecured claim.
                                                                                                            PAY VALUE
                                                                       910*        APPROX.       INT.          OR AMT.
 CREDITOR'S NAME          COLLATERAL                                   CLM        AMT. OWED
                                                                                  VALUE        RATE             OWED
 -NONE-                                                                                           %
*The column for "910 CLM" applies to both motor vehicles and "any other thing of value" as used in the "hanging
paragraph" of 11 U.S.C. § 1325

SPECIAL CLAIMANTS including, but not limited to, co-signed debts, abandonment of collateral, direct payments by
Debtor, etc. For all abandoned collateral Debtor will pay $0.00 on the secured portion of the debt. Where the proposal is
for payment, creditor must file a proof of claim to receive proposed payment.
                                                                                                              PROPOSED
 CREDITOR'S NAME                             COLLATERAL                 APPROX. AMT. OWED                    TREATMENT
 Marshall County Chancery Clerk              property taxes for 2014                   $1,240.64                direct pay
 Marshall County Tax Collector               property taxes for 2015                  unknown                   direct pay

STUDENT LOANS which are not subject to discharge pursuant to 11 U.S.C. §§ 523(a)(8) and 1328(c) are as follows
(such debts shall not be included in the general unsecured total):

CREDITOR'S NAME                               APPROX. AMT. OWED                    CONTRACTUAL MO. PMT.        PROPOSED TREATMENT
-NONE-

SPECIAL PROVISIONS for all payments to be paid through the plan, including, but not limited to, adequate protection
payments: -NONE-

GENERAL UNSECURED DEBTS totaling approximately$ 54,815.21 . Such claims must be timely filed and not
disallowed to receive payment as follows: __ IN FULL (100%) or _0_% (percent) MINIMUM, or a total distribution of
$__ ,with the Trustee to determine the percentage distribution. Those general unsecured claims not timely filed
shall be paid nothing, absent order of the Court.

Total Attorney Fees Charged $                                          3,200.00
Attorney Fees Previously Paid $                                        0.00
Attorney fees to be paid in plan $                                     3,200.00

The payment of administrative costs and aforementioned attorney fees are to be paid pursuant to Court order and/or local
rules.

Automobile Insurance Co/Agent                                                         Attorney for Debtor (Name/Address/Phone# I Email)
                                                                                      Robert H. Lomenick 104186
                                                                                      SCHNELLER & LOME NICK, P.A.
                                                                                      126 North Spring Street
                                                                                      Post Office Box 417
                                                                                      Holly Springs, MS 38635

Telephone/Fax                                                                         Telephone/Fax 662-252-3224
                                                                                                     ~------------~
                                                                                      Facismile No.  662-252-2858
                                                                                                     ~------------~


                                                                                      E-mail Address karen.schneller@gmail.com

DATE: June 29, 2016                                     DEBTOR'S SIGNATURE                 _/s_/_V_ic_k_e~y_P~ry_o_r_ _ _ _ _ _ _ _ _ _ __
                                                        JOINT DEBTOR'S SIGNATURE
                                                        ATTORNEY'S SIGNATURE               /s/ Robert H. Lomenick
                                                                                           ~-----------------




 Effective: October 1, 2011                                                                          CHAPTER 13 PLAN, PAGE 2 OF 2
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